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                         IN THE UNITED STATES DISTRICT COURT roR
                             THE EASTERN DISTRICT or VIRGINIA
                                     Alexandria Division


  MICROSOFT CORPORATION,
               Plaintiff,
                                                       No. I 2
                                                             : 4-cv-02323-MS -WEf-
        V.


  DOES 1-10 OPERATING AN AZURE
  ABUSE NETWORK,
                Defendants.


                                              ORDER

        Before the Court is Plaintifrs Motion to Unseal this case (ECF 33). Having heard the

 Plaintiff this morning and reviewed all the relevant papers, it is hereby

        ORDERED that Plaintiff's Motion (ECF 3 3) is GRANTED.

        This case and all papers on file may be placed by the Clerk on the Court's public docket

 and made accessible via the CM/ECP system.

        It is SO ORDERED.




                                                       Hon. Michael S. aclm1anoff
                                                       United States District Judge

 Januaiy I 0, 2025
 Alexandria, Virginia
